       Case 1:16-cv-00211-RMC Document 32-12 Filed 05/12/17 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

HEARTLAND ALLIANCE FOR HUMAN
NEEDS & HUMAN RIGHTS d/b/a
NATIONAL IMMIGRANT JUSTICE
CENTER
                                                    No. 1:16-cv-00211-RMC
               Plaintiff,

              v.

UNITED STATES DEPARTMENT OF
HOMELAND SECURITY et al.

              Defendants.


                        PLAINTIFF’S RESPONSE TO
      DEFENDANT’S STATEMENT OF UNDISPUTED MATERIAL FACTS AND
          PLAINTIFF’S STATEMENT OF GENUINE MATERIAL ISSUES

       Plaintiff responds as follows to numbered paragraphs of Defendant’s Statement of

Undisputed Material Facts:

       1.      Plaintiff denies that “DHS located 2519 pages of draft reports, through November

4, 2016, related to Secure Communities statistical monitoring.” The Declaration of James V. M.

L. Holzer (ECF No. 31-2) indicates that a first Vaughn index covered the withholding of “1190

pages” (¶ 4) while four subsequent Vaughn indexes covered the withholding of “1258 pages in

full and 65 pages in part” (¶5). Thus, the total number of pages was 2513.

       4.      Plaintiff denies that “[o]n March 31, 2016, DHS provided Plaintiff[] with 4

Vaughn indices detailing the reasons for withholding 1258 pages in full and 65 pages in part per

5 U.S.C. § 552(b)(5).” DHS provided Plaintiff with four Vaughn indexes on March 31, 2017.

       37.     Plaintiff denies that the withholdings by DHS of (i) the portions of the drafts that

are tables with data and (ii) any portions of the drafts that are “metrics” (e.g., equations) “were

made to prevent a potential chilling effect on the open and frank discussions of matters between


                                                -1-
        Case 1:16-cv-00211-RMC Document 32-12 Filed 05/12/17 Page 2 of 4




subordinates, and between subordinates and superiors, which would undermine the ability of

CRCL, and in turn DHS, to perform its duties.”

        38.     Plaintiff denies that release of the requested portions of the withheld drafts, i.e. (i)

the portions of the drafts that are tables with data and (ii) any portions of the drafts that are

“metrics” (e.g., equations), “would pose a substantial risk of causing public confusion and harm

to the agency.” Defendant has not made any reasonable showing that release specifically of

these requested portions would have such effects. Nor has Defendant made any reasonable

showing that these requested portions “contain erroneous information and include reasoning and

rationales that did not form the basis for a final agency action.”

        39.     Plaintiff denies that that release of the requested portions of the withheld drafts,

i.e. (i) the portions of the drafts that are tables with data and (ii) any portions of the drafts that are

“metrics” (e.g., equations), “would allow the public to determine the substance of the proposed

and adopted changes thereby intruding upon the editorial process and stifling the exchange of

ideas and candid discussions within DHS causing a chilling effect thereby hampering the

Department’s ability to encourage robust discussion amongst employees and possibly resulting

in harm to the Department’s mission.” Defendant has not made any reasonable showing that

release specifically of these requested portions would have such effects.

        40.     Plaintiff denies that “CRCL made significant efforts to segregate non-exempt

portions of documents from exempt portions in order to provide plaintiff[] with all responsive

information not subject to FOIA exemptions.” Plaintiff further denies that “reasonably

segregable portions of the records were released to plaintiff[].” Among the 2513 pages of draft

reports located and withheld by DHS, all pages were withheld in full except 65 pages of

“comment matrices” which were released almost completely redacted. DHS did not segregate




                                                  -2-
        Case 1:16-cv-00211-RMC Document 32-12 Filed 05/12/17 Page 3 of 4




and release any of the requested portions of the withheld draft reports, i.e., (i) the portions of the

drafts that are tables with data and (ii) any portions of the drafts that are “metrics” (e.g.,

equations).

        This record presents the following genuine issues of material fact:

        1.      Whether Defendant has carried its burden of establishing that the requested

portions of the withheld draft reports, i.e., (i) the portions of the drafts that are tables with data

and (ii) any portions of the drafts that are “metrics” (e.g., equations), are properly exempt from

disclosure.

        2.      Whether Defendant has carried its burden of establishing that all reasonably

segregable, non-exempt, non-privileged portions of the withheld documents that are (i) tables

with data and (ii) “metrics” (e.g., equations) were released.


Dated: May 12, 2017                     Respectfully submitted,


                                        /s/ Seth A. Watkins
                                        Seth A. Watkins (D.C. Bar # 467470)
                                              Email: watkins@adduci.com
                                        Giang “James” T. Tonthat (D.C. Bar # 1031035)
                                              Email: ton-that@adduci.com
                                        ADDUCI, MASTRIANI & SCHAUMBERG, LLP
                                        1133 Connecticut Avenue, NW
                                        Washington, DC 20036
                                        Telephone: (202) 467-8647
                                        Facsimile: (202) 466-2006

                                        Of Counsel:
                                        Mark M. Fleming*
                                               Email: MFleming@heartlandalliance.org
                                        HEARTLAND ALLIANCE FOR
                                        HUMAN NEEDS & HUMAN RIGHTS
                                        D/B/A NATIONAL IMMIGRANT JUSTICE CENTER
                                        208 S. LaSalle St., Suite 1300
                                        Chicago, IL 60604
                                        Telephone: (312) 660-1628
                                        Facsimile: (312) 660-1505


                                                  -3-
Case 1:16-cv-00211-RMC Document 32-12 Filed 05/12/17 Page 4 of 4




                       *moving for admission pro hac vice

                       Attorneys for Plaintiff
                       Heartland Alliance for Human
                       Needs & Human Rights
                       d/b/a National Immigrant Justice Center




                               -4-
